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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

    In re:                                                Chapter 11

    FUSE, LLC, et al.,1                                   Case No. 19-10872 (KG)

                             Debtors.                     (Jointly Administered)

                       NOTICE OF (I) EFFECTIVE DATE OF DEBTORS’ AMENDED
                       PREPACKAGED JOINT PLAN OF REORGANIZATION AND
                           (II) BAR DATES FOR FILING CERTAIN CLAIMS

TO: CREDITORS, EQUITY HOLDERS, AND OTHER PARTIES IN INTEREST:

                PLEASE TAKE NOTICE that on June 18, 2019, the Honorable Kevin Gross, United
States Bankruptcy Judge for the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”), entered the Order Approving the Debtors’ Disclosure Statement for, and
Confirming, the Debtors’ Amended Prepackaged Joint Plan of Reorganization [Docket No. 251] (the
“Confirmation Order”) confirming the Plan2 [Docket No. 194] and approving the Disclosure Statement
[Docket No. 14] in the chapter 11 cases of certain of the above-captioned debtors (the “Debtors”). Unless
otherwise defined in this notice, capitalized terms used in this notice shall have the meanings ascribed to
them in the Plan and the Confirmation Order.

                 PLEASE TAKE FURTHER NOTICE that the Effective Date of the Plan, as defined in
the Plan, occurred on July 1, 2019.

                 PLEASE TAKE FURTHER NOTICE that in accordance with the Confirmation Order
and Section VII.C of the Plan, within thirty (30) days after service of notice of entry of an order of the
Bankruptcy Court (including the Confirmation Order) approving such rejection, proofs of claims for
damages by reason of rejection of executory contracts and unexpired leases pursuant to section VII.C of
the Plan, must be filed with the Bankruptcy Court by delivering the original executed proof of claim, in
each case so as to be received on or before the Rejection Damages Claim Bar Date of July 21, 2019 at
the following address: Fuse, LLC Claims Processing Center, c/o Kurtzman Carson Consultants, 222 N.
Pacific Coast Highway, Suite 300, El Segundo, CA 90245.




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  The Debtors and the last four digits of their taxpayer identification numbers include: Fuse Media, Inc.
(9721); Fuse Media, LLC (0560); Fuse, LLC (1888); JAAM Productions, LLC (5499); SCN Distribution,
LLC (9656); Latino Events LLC (8204); Fuse Holdings LLC (5673); Fuse Finance, Inc. (8683); and FM
Networks LLC (6500). The Debtors’ headquarters and service address is 700 North Central Avenue,
Suite 600, Glendale, CA 91203.
For the avoidance of doubt, Debtors Fuse Media, Inc. and Fuse Media, LLC are not proponents of the
Plan and the provisions of the Plan shall not extend to those entities.
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  Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the
Debtors’ Amended Prepackaged Joint Plan of Reorganization [Docket No. 194] (as modified, amended,
and including all supplements, the “Plan”).


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                 PLEASE TAKE FURTHER NOTICE that in accordance with the Confirmation Order,
the deadline for holders of asserted General Unsecured Claims to file a proof of claim shall be August
30, 2019 that date which is sixty (60) days after the Effective Date (the “Bar Date”). The proof of claim
must be filed with the Debtors claims and noticing agent, Kurtzman Carson Consultants LLC by
delivering the original executed proof of claim, in each case so as to be received on or before the Bar Date
at the following address: Fuse, LLC Claims Processing Center, c/o Kurtzman Carson Consultants, 222 N.
Pacific Coast Highway, Suite 300, El Segundo, CA 90245. A proof of claim form accompanies this
notice.

                 Any proof of claim asserted on account of alleged Rejection Damages Claims or
other General Unsecured Claims must include at a minimum: (i) the name of the Holder of the
Claim; (ii) the amount of the Claim; (iii) the basis of the Claim; and (iv) supporting documentation
for the Claim. Any proof of claim that is not timely filed shall not be treated as a creditor or a
claimant for purposes of distribution under the Plan and Holders of such General Unsecured
Claims will not be able to assert such General Unsecured Claims in any manner against the Debtors
or their estates, the Liquidation Trustee, the Liquidation Trust, or any of their respective
successors or assigns or their respective property.

                PLEASE TAKE FURTHER NOTICE that, in accordance with the Confirmation Order
and Section II.A. of the Plan, requests for payment of Professional Fee Claims for services rendered
through the Effective Date must be filed and served on the Reorganized Debtors, his or her counsel, and
other necessary parties in interest no later than thirty (30) days after the Effective Date (on or before July
31, 2019).

                  PLEASE TAKE FURTHER NOTICE that the Confirmation Order and the Plan are
available for inspection. If you would like to obtain a copy of the Confirmation Order or the Plan, you
may contact Kurtzman Carson Consultants LLC, the voting agent retained by the Debtors in these chapter
11 cases, by: (i) accessing the Debtors’ restructuring website at http://www.kcclcc.net/fusemedia; (ii)
calling the voting agent at 888-251-2954 (toll free) or +1 310-751-2614; or (iii) email
FuseMediaInfo@kccllc.com. Parties may also obtain any documents filed in the chapter 11 cases for a
fee via PACER at https://deb.uscourts.gov/.

 Dated: July 1, 2019                              PACHULSKI STANG ZIEHL & JONES LLP

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